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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
V.                                                §           CASE NO. 9:12-CR-15(3)
                                                  §
FRANCISCO JAVIER BUSTOS                           §

                        REPORT AND RECOMMENDATION
                  ON DEFENDANT’S COMPETENCY TO STAND TRIAL

       Pursuant to 28 U.S.C. § 636(b) and the Local Rules for the United States District Court for

the Eastern District of Texas, this criminal proceeding is before the undersigned United States

Magistrate Judge upon referral from the District Court. The Court now its enters its recommendation

that the District Court find the defendant, Francisco Javier Bustos, competent to proceed.

       A.      Procedural Background and the Forensic Psychologist’s Report

       On November 1, 2012, pursuant to the motion of counsel, the undersigned entered an order

directing the mental examination of the defendant to determine his competency to stand trial (doc.

#93). In that order, the Court directed that the defendant be committed to the custody of the Attorney

General for placement in a suitable facility for an examination by a psychiatrist or psychologist to

determine whether, pursuant to 18 U.S.C. § 4241, he is suffering from a mental disease or defect

rendering him mentally incompetent to the extent he is unable to understand the nature and
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consequences of the proceedings against him or to assist properly in his defense.

       The Court received notification from the warden of the Federal Correctional Institution in

Fort Worth, Texas, that a psychological evaluation had been completed pursuant to this Court’s

order. Lisa Bellah, Ph.D., licensed psychologist, prepared the report stating her opinion that the

defendant does not appear to suffer from a mental disease or defect rendering him unable to

understand the nature and consequences of the proceedings against him or to properly assist in his

defense. The competency report, which reflects the examiner’s method of evaluation and opinion

in detail and sets forth the corresponding psychological findings and recommendations, was filed in

the record under seal and provided to both the defendant’s attorney and the attorney for the

Government. On February 7, 2013, the Court conducted a competency hearing to address the

findings set forth in the psychological report. Neither party objected to the report or the examiner’s

findings.

       B.        Conclusion and Recommendation

       Accordingly, based upon the opinion issued by the forensic psychological examiners and the

agreement of the parties, the undersigned United States Magistrate Judge recommends that the

District Court find the defendant, Francisco Javier Bustos, competent to proceed pursuant to 18

U.S.C. § 4241.

       C.        Objections

       Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen (14)

days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s failure to

object bars that party from: (1) entitlement to de novo review by a district judge of proposed

findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir. 1988), and


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(2) appellate review, except on grounds of plain error of unobjected-to factual findings and legal

.conclusions accepted by the district court, see Douglass v. United Servs. Auto. Ass’n., 79 F.3d 1415,

1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded by Congress and the courts

require that, when a party takes advantage of his right to object to a magistrate’s findings or

recommendation, a district judge must exercise its nondelegable authority by considering the actual

evidence and not merely by reviewing and blindly adopting the magistrate judge’s report and

recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v.

Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).



                   SIGNED this the 7th day of February, 2013.




                                                      ____________________________________
                                                      KEITH F. GIBLIN
                                                      UNITED STATES MAGISTRATE JUDGE




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